 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                Page 1 of 31 PageID 1941



                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF TEXAS
                              FORT WORTH DIVISION
                       _____________________________________

BRAIDWOOD MANAGEMENT, INC., et al.,

       Plaintiffs,

v.                                                 Civil Action No. 4:20-cv-00283-O

XAVIER BECERRA, et al.,

       Defendants.


  DEFENDANTS’ RESPONSE TO PLAINTIFFS’ SUPPLEMENTAL MOTION FOR
SUMMARY JUDGMENT AND SUPPLEMENTAL CROSS-MOTION FOR SUMMARY
                           JUDGMENT




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     Case 4:20-cv-00283-O Document 99 Filed 11/23/22                                      Page 2 of 31 PageID 1942



                                                TABLE OF CONTENTS

SUMMARY......................................................................................................................... 1

ARGUMENT....................................................................................................................... 1

I.        PLAINTIFFS OTHER THAN BRAIDWOOD LACK STANDING TO
          CHALLENGE THE PREVENTIVE SERVICES PROVISION ............................. 1

          A.        The Religious Objector Plaintiffs Lack Standing Because They Do
                    Not Participate in the Market for Health Insurance and the
                    Challenged Coverages Thus Do Not Apply to Them ................................... 2

          B.        Plaintiffs Lack Standing Under the “Purchaser Standing” Doctrine ............ 5

II.       THE COURT SHOULD ENTER JUDGMENT FOR DEFENDANTS ON
          PLAINTIFFS’ CONTRACEPTIVE COVERAGE CLAIMS.................................. 7

III.      THE COURT SHOULD PROVIDE BRAIDWOOD TARGETED RELIEF
          TAILORED TO ITS CLAIMS................................................................................. 8

          A.        Supreme Court Precedent Requires This Court To Sever the
                    Provision that Makes § 300gg-13(a)(1) Unconstitutional,
                    Authorizing the Secretary to Review PSTF’s Recommendations in
                    the Future ....................................................................................................... 8

          B.        Plaintiffs Are Not Entitled to a “Universal Remedy” ................................. 10

                    1.        Plaintiffs Did Not Bring an APA Claim and Thus Are Not
                              Entitled to an APA Remedy ............................................................. 11

                    2.        By Their Own Admission, Plaintiffs Are Not “Eligible” for
                              “Any Type of Universal Remedy” in This “Constitutional
                              Challenge” to the “Legislature’s Action” ........................................ 14

                    3.        Plaintiffs Have Not Challenged the PSTF’s Authority to Issue
                              Recommendations Under 42 U.S.C. § 299b(a)(1) and Are Not
                              Entitled to Invalidation of Those Recommendations ....................... 15

                    4.        Section 706(2) of the APA Does Not Authorize Vacatur As a
                              Remedy............................................................................................. 18

                    5.        The “Universal Remedy” Requested by Plaintiffs Would Be
                              Inappropriate Here Even if It Were Permissible .............................. 18



Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page i
  Case 4:20-cv-00283-O Document 99 Filed 11/23/22                                   Page 3 of 31 PageID 1943



         C.        The Court Should Award Braidwood Targeted Relief Tailored to the
                   Claims on Which It Prevailed ..................................................................... 20

CONCLUSION ................................................................................................................. 22




Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page ii
  Case 4:20-cv-00283-O Document 99 Filed 11/23/22                                           Page 4 of 31 PageID 1944



                                               TABLE OF AUTHORITIES

Cases
Alley v. U.S. Dep't of Health & Hum. Servs.,
   590 F.3d 1195 (11th Cir. 2009) ................................................................................................ 19

Arizona v. Biden,
  40 F.4th 375 (6th Cir. 2022) ............................................................................................... 18, 19

Arizona v. Biden
  31 F.4th 469 (6th Cir. 2022) ..................................................................................................... 20

Citizens United v. FEC,
   558 U.S. 310 (2010) ................................................................................................................. 13

Coal. for Mercury-Free Drugs v. Sebelius,
  671 F.3d 1275 (D.C. Cir. 2012)...................................................................................... 4, 5, 6, 7

Croft v. Governor of Tex.,
  562 F.3d 735 (5th Cir. 2009) ...................................................................................................... 3

Cummings v. Premier Rehab Keller, P.L.L.C.,
  142 S. Ct. 1562 (2002)........................................................................................................ 12, 13

Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C.,
  710 F.3d 579 (5th Cir. 2013) .................................................................................................... 21

Data Mktg. P’ship LP v. U.S. Dep’t of Labor,
  45 F.4th 846 (5th Cir. 2022) ............................................................................................... 12, 18

Dep’t of Homeland Sec. v. New York,
  140 S. Ct. 599 (2020)................................................................................................................ 20

Driggers v. Business Men’s Assurance Co. of Am.,
  219 F.2d 292 (5th Cir. 1955) .............................................................................................. 12, 13

Ford v. NYLCare Health Plans of Gulf Coast, Inc.,
  301 F.3d 329 (5th Cir. 2002) ...................................................................................................... 2

Franciscan All., Inc. v. Becerra,
  47 F.4th 368 (5th Cir. 2022) ..................................................................................................... 12

Gill v. Whitford,
  138 S. Ct. 1916 (2018).............................................................................................................. 21

Keener v. Convergys Corp.,
  342 F.3d 1264 (11th Cir.2003) ................................................................................................. 19


Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page iii
  Case 4:20-cv-00283-O Document 99 Filed 11/23/22                                               Page 5 of 31 PageID 1945



Louisiana v. Becerra,
  20 F.4th 260 (5th Cir. 2021) ............................................................................................... 19, 20

Lujan v. Defs. of Wildlife,
  504 U.S. 555 (1992) ............................................................................................................... 2, 4

Md. Shall Issue, Inc. v. Hogan,
  963 F.3d 356 (4th Cir. 2020) ...................................................................................................... 5

Salazar v. Buono,
  559 U.S. 700 (2010) ................................................................................................................. 11

Sapp v. Renfroe,
  511 F.2d 172 (5th Cir. 1975) .................................................................................................... 12

Seila Law, LLC v. Consumer Fin. Prot. Bureau,
  140 S. Ct. 2183, 2209 (2020)................................................................................................... 10

Trump v. Hawaii,
  138 S. Ct. 2392 (2018)........................................................................................................ 19, 20

United States v. Arthrex, Inc.,
  141 S. Ct. 1970 (2021).............................................................................................. 9, 10, 11, 21

Valley Forge Christian Co., v. Am. United for Separation of Church and State, Inc.,
  454 U.S. 464 (1982) ................................................................................................................... 5

Weissman v. Nat’l R.R. Passenger Corp.,
  21 F.4th 854 (D.C. Cir. 2021) ........................................................................................ 2, 5, 6, 7

Statutes
5 U.S.C. § 703 ............................................................................................................................... 18

5 U.S.C. § 706(2) .......................................................................................................................... 18

42 U.S.C. § 299b-4 ................................................................................................................ passim

42 U.S.C. § 300gg-13 ............................................................................................................ passim

42 U.S.C. § 1395m(n)(2) .............................................................................................................. 17

42 U.S.C. § 1395x(ddd) ................................................................................................................ 17

Rules
Fed. R. Civ. P. 26(e)(1)(A) ............................................................................................................. 4

Fed. R. Civ. P. 37 ............................................................................................................................ 4

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page iv
  Case 4:20-cv-00283-O Document 99 Filed 11/23/22                                              Page 6 of 31 PageID 1946



Fed. R. Civ. P. 54(c) ..................................................................................................................... 13

Fed. R. Civ. P. 56(e) ....................................................................................................................... 2

Regulations
45 C.F.R. § 144.103 ........................................................................................................................ 3

Coverage of Certain Preventive Services Under the Affordable Care Act,
  78 Fed. Reg. 39,870 (July 2, 2013) ............................................................................................ 6

Other Authorities

John Harrison, Section 706 of the Administrative Procedure Act Does Not Call for Universal
Injunctions or Other Universal Remedies,
   37 Yale J, on Reg. Bull 37 (2020) ............................................................................................ 18

Samuel L. Bray, Multiple Chancellors: Reforming the National Injunction,
  131 Harv. L. Rev 417 (2017) .................................................................................................... 18




Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page v
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                     Page 7 of 31 PageID 1947



                                           SUMMARY
        In its September 7, 2022 Memorandum Opinion and Order, the Court concluded that one

Plaintiff, Braidwood Management Inc. (“Braidwood”), had standing to assert its claims in this

case. The Court also ruled that 42 U.S.C. § 300gg-13(a)(1) violates the Appointments Clause and

that the requirement that Pre-Exposure Prophylaxis (“PrEP”) medications be covered by

Braidwood’s self-insured health plan violates Braidwood’s rights under the Religious Freedom

Restoration Act (“RFRA”). The Court ruled for Defendants on the merits of all Braidwood’s

remaining claims. The Court has directed the parties to further brief: (1) the standing of other

Plaintiffs; (2) Plaintiffs’ claims relating to the contraceptive coverage requirement pursuant to 42
U.S.C. § 300gg-13(a)(4); and (3) the scope of any remedy. See Scheduling Order re Suppl. Br.

ECF No. 97.

        Defendants respectfully submit that the remaining Plaintiffs lack standing. Most of those

Plaintiffs do not participate in the health insurance market at all and so the challenged requirements

do not affect them. In addition, the “purchaser standing” doctrine on which Plaintiffs rely does not

afford them standing because the relevant product, as defined by its core features—health

insurance—remains available to them despite the challenged law affecting ancillary aspects of that

product. With respect to the contraceptive coverage claims, judgment must be entered for

Defendants, as Plaintiffs concede; the Court has already rejected these claims on the merits, and,

in any event, the remaining Plaintiffs lack standing to pursue the claims. Finally, the Court should

issue a limited, targeted remedy to Braidwood that remedies the specific claims it prevailed upon,

with the least disruption to Congress’ intended statutory scheme as applied to non-parties, because

more “universal” relief is neither available nor appropriate here.

                                               ARGUMENT

   I.      PLAINTIFFS OTHER THAN BRAIDWOOD LACK STANDING TO
           CHALLENGE THE PREVENTIVE SERVICES PROVISION
        The seven plaintiffs other than Braidwood lack standing to bring their claims for two

reasons. First, most of the remaining Plaintiffs do not participate in the health insurance market


Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 1
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22                Page 8 of 31 PageID 1948



for reasons other than the challenged coverage requirements, and thus, they are not injured by the

requirements. Second, the sole legal ground that Plaintiffs claim affords them standing—the so-

called “purchaser standing” doctrine—does not provide standing where, as here, plaintiffs retain

the ability to purchase their desired product, as defined by its “core features.”1 Weissman v. Nat’l

R.R. Passenger Corp., 21 F.4th 854, 859 (D.C. Cir. 2021). Plaintiffs do not dispute that health

insurance that covers all services that they desire remains available to them. Therefore, they lack

standing, even though health insurance excluding coverage of a handful of ancillary services they

do not want is not available.

        A.     The Religious Objector Plaintiffs Lack Standing Because They Do Not
               Participate in the Market for Health Insurance and the Challenged Coverages
               Thus Do Not Apply to Them
        None of the Plaintiffs asserting a religious objection to the coverage requirements at issue

in this case has met its burden to establish standing. See Lujan v. Defs. of Wildlife, 504 U.S. 555,

561 (1992) (holding that “mere allegations” supporting standing are insufficient at summary

judgment, and that plaintiffs must instead “‘set forth’ by affidavit or other evidence ‘specific

facts’” that support their standing) (quoting Fed. R. Civ. P. 56(e)); id. (“The party invoking federal

jurisdiction bears the burden of establishing the[] elements [of standing].”) (citation omitted); see

also Ford v. NYLCare Health Plans of Gulf Coast, Inc., 301 F.3d 329, 334 (5th Cir. 2002). To

meet their burden, Plaintiffs must establish three elements: “(1) an ‘injury in fact’ that is (a)

concrete and particularized and (b) actual or imminent; (2) a causal connection between the injury




1
  Plaintiffs John Kelley, Kelley Orthodontics, Joel Starnes, Zach Maxwell, and Ashley Maxwell
(the “Religious Objector Plaintiffs”) assert both constitutional claims with respect to 42 U.S.C.
§ 300gg-13 (the “Preventive Services Provision”) and a RFRA claim with respect to the coverage
requirement under 42 U.S.C. § 300gg-13(a)(1) for PrEP medications. See FAC ¶¶ 33-38, 53-57,
66-80, 108-111, ECF No. 14. Because they lack standing for the reasons set forth in Part I.A, the
Court need not reach the arguments in Part I.B with respect to the Religious Objector Plaintiffs,
although they also lack standing for the reasons set forth in Part I.B. Plaintiffs Joel Miller and
Gregory Scheidman assert only constitutional claims with respect to 42 U.S.C. § 300gg-13. See
id. ¶¶ 44-52, 66-80.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 2
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22                Page 9 of 31 PageID 1949



and the conduct complained of; and (3) the likelihood that a favorable decision will redress the

injury.” Croft v. Governor of Tex., 562 F.3d 735, 745 (5th Cir. 2009) (citation omitted).

        None of the religious objector Plaintiffs can meet this burden, because none of them

participates in the market for health insurance and they decline to do so for reasons other than the

challenged requirements. Kelley and Starnes state that since 2016 they have participated in

“Christian bill-sharing” programs that Plaintiffs do not dispute are not subject to the Preventive

Services Provision2; Kelley Orthodontics has not provided health insurance to its employees at all

since 2016. See APP 183-200, Nos. 1–56 (owner of Kelley Orthodontics admitting that “the

premiums for health insurance that I provided for my employees increased, so much so that . . . I

was forced to stop offering health insurance as a benefit because it was too expensive”); APP 206-

220, Nos. 1–48 (Kelley admitting that “my health insurance premiums increased to a point where,

in 2016 I stopped buying insurance”); APP 279-294, Nos. 1–48 (Starnes admitting that “my health

insurance premiums increased to a point where, in 2016 I stopped buying insurance”). By their

own admission, none of these plaintiffs has participated in the health insurance market since 2016,

none has demonstrated that the challenged coverage requirements caused that decision, and none

has demonstrated that a favorable ruling in this case would change that decision.

        Plaintiffs’ only response is that they “want[] the option of purchasing conventional health

insurance that excludes coverage of objectionable preventive care.” Suppl. Br. in Supp. of Pls.’

Mot. for Summ. J. (“Pls.’ Suppl. Br’). at 16, ECF No. 98 (citation omitted). But Plaintiffs do not

establish that they would purchase such coverage if it were available, and wanting a product that


2
  The Preventive Services Provision applies to group health plans and health insurance issuers
offering group or individual health insurance coverage. A health insurance issuer is defined in
relevant part as an insurance company, insurance service, or insurance organization (including an
HMO) that is required to be licensed to engage in the business of insurance in a State and that is
subject to State law that regulates insurance (within the meaning of section 514(b)(2) of the
Employee Retirement Income Security Act). See 42 U.S.C. § 300gg–91(b)(2) & 45 C.F.R.
§ 144.103. Christian bill-sharing arrangements, commonly known as health care sharing
ministries, generally are not required to be licensed to engage in the business of insurance and
generally are not subject to State law that regulates insurance.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 3
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                  Page 10 of 31 PageID 1950



one will not purchase to be available in the marketplace for others is not a cognizable injury. See,

e.g., Coal. for Mercury-Free Drugs v. Sebelius, 671 F.3d 1275, 1277 (D.C. Cir. 2012) (Kavanaugh,

J.) (“[Plaintiffs] do not have standing to challenge FDA’s decision to allow other people to receive

thimerosal-preserved vaccines.”).

        Zach and Ashley Maxwell have also failed to show that they participate in the health

insurance market or that the challenged coverage requirements have anything to do with that

decision. In their June 2021 interrogatory responses, they indicated that they were “currently

shopping for health insurance” but had not yet purchased it, having been without such insurance

since January 2021. APP 397, ECF No. 65. In the intervening 17 months, Plaintiffs have not

supplemented this response, despite an obligation to do so under Rule 26(e) and a request from

Defendants that they do so. See Fed. R. Civ. P. 26(e)(1)(A) (“A party who . . . has responded to an

interrogatory . . . must supplement or correct its disclosure or response . . . in a timely manner if

the party learns that in some material respect the disclosure or response is incomplete or incorrect,

and if the additional or corrective information has not otherwise been made known to the other

parties during the discovery process or in writing”); SUPP APP 001. Accordingly, the Court must

assume that they still do not participate in the health insurance market and that they are not likely

to imminently change that course. See Fed. R. Civ. P. 37(c)(1); id. 37(b)(2)(A)(i). In any event,

they have not met their burden to establish that they participate in the health insurance market as

required to establish standing here. See, e.g., Lujan, 504 U.S. at 563–64 (concluding plaintiffs

lacked standing where they professed only “‘some day’ intentions” to visit the endangered species

at issue).

         In short, the religious objector Plaintiffs are attempting to litigate the regulation of a

market they have chosen not to participate in, without showing that the Preventive Services

Provision drove them out of or is keeping them from that market. They offer no basis on which

they are aggrieved by the challenged requirements beyond an expression of disagreement with the

law that imposes requirements on others. This does not confer standing. See, e.g., Md. Shall Issue,

Inc. v. Hogan, 963 F.3d 356, 362 (4th Cir. 2020) (“MSI’s alleged injury is no more than a mere

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 4
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                     Page 11 of 31 PageID 1951



disagreement with the policy decisions of the Maryland legislature, which is insufficient to meet

the constitutional threshold for an injury in fact.”); see also Coal. for Mercury-Free Drugs, 671

F.3d at 1278-79 (“Standing protects democratic government by requiring citizens to express their

generalized dissatisfaction with government policy through the Constitution’s representative

institutions, not the courts.”); Valley Forge Christian Co., v. Am. United for Separation of Church

and State, Inc., 454 U.S. 464, 485-86 (1982) (The “observation of conduct with which one

disagrees . . . is not an injury sufficient to confer standing under Art. III.”).

        B.      Plaintiffs Lack Standing Under the “Purchaser Standing” Doctrine
        The exclusive legal ground on which Plaintiffs rely in contending that the non-Braidwood

Plaintiffs have standing is the so-called “purchaser standing” doctrine. See Pls.’ Suppl. Br. at 11.

Plaintiffs claim that this doctrine “allows litigants to sue whenever a statute or agency action

deprives them of the opportunity to purchase a desired product.” Id. But the Fifth Circuit has never

adopted the purchaser standing doctrine. And the D.C. Circuit precedent on which Plaintiffs

exclusively rely has “assumed” that the doctrine permits standing “only in the context of a

challenge . . . under the [Administrative Procedure Act (“APA”)],” which is not at issue here.

Weissman, 21 F.4th at 859. In any event, “[e]ven assuming” the purchaser standing doctrine

applied in the Fifth Circuit and “could apply beyond [the APA] context,” it would still not apply

here.

        The D.C. Circuit’s recent Weissman decision rejects the premise behind Plaintiffs’

maximalist construction of the purchaser standing doctrine. In Weissman, plaintiffs sought to

challenge Amtrak’s decision to modify the terms and conditions governing its rail service to

include a mandatory arbitration provision. Id. at 856. In an effort to establish standing, the

Weissman plaintiffs—like Plaintiffs here—“rel[ied] on [the D.C. Circuit’s] precedent that

consumers have standing to challenge government action that ‘prevented the consumers from

purchasing a desired product.’” Id. at 857 (quoting Coal. for Mercury-Free Drugs, 671 F.3d at

1281). The court rejected plaintiffs’ contention, analyzing the very cases on which Plaintiffs rely

here to explain the limits of the purchaser standing doctrine:

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 5
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                     Page 12 of 31 PageID 1952



                In each case, the court analyzed the injury-in-fact requirement by
                considering whether government action had meaningfully abridged a
                concrete interest of the plaintiff in accessing the desired product. That
                inquiry has focused on two considerations: whether the challenged action
                made a consumer’s desired product, as defined by its core features, “not
                readily available,” and whether it rendered the product “unreasonably
                priced.”
Weissman, 21 F.4th at 858 (quoting Coal. for Mercury-Free Drugs, 671 F.3d at 1282) (emphasis

added). In Weissman, as here, plaintiffs did not and could not show that the challenged decision

made the product at issue more expensive or unreasonably priced. See id. at 859; Defs.’ Br. in

Supp. of Resp. to Pls.’ Mot. for Summ. J. & Cross-Mot for Summ. J. (“Defs.’ Br.”) at 11-20, ECF
No. 64; see also Resp. to Defs.’ Mot for Summ. J. & Reply Br. in Supp. of Pls.’ Mot. for Summ.

J. at 3-4, ECF No. 74; id. at 6 (“The allegations of the plaintiffs’ complaint [that the coverage

requirements increased the cost of health insurance] are not relevant at this stage of the litigation.”);

see also Coverage of Certain Preventive Services Under the Affordable Care Act, 78 Fed. Reg.

39,870, 39,872 (July 2, 2013) (“Use of preventive services results in a healthier population and

reduces health care costs by helping individuals avoid preventable conditions and receive

treatment earlier.”). Instead—again, like Plaintiffs here, who argue that health insurance without

certain preventive services coverage is no longer on the market, Br. in Supp. of Pls.’ Mot. for

Summ. J. at 9-10, ECF No. 45—the Weissman plaintiffs “maintain[ed] that, . . . they are prevented

from purchasing their desired product because an Amtrak rail ticket without an arbitration clause

is no longer on the market as a result of Amtrak’s new term of service.” Weissman, 21 F.4th at

859.

        But, the D.C. Circuit explained, this was not sufficient to establish standing. Rather, “the

product at issue” must be “differentiated from available alternatives by its core features,” not

ancillary ones. Id. Thus, the Weissman plaintiffs “adequately alleged a ‘primary,’ concrete

consumer interest in traveling on Amtrak, but not in purchasing an Amtrak ticket without an

arbitration provision.” Id. at 860. So too here. Plaintiffs may have a primary interest in obtaining

health insurance, but not in obtaining health insurance that excludes coverage for ancillary

preventive services they have no intention of using.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 6
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22                  Page 13 of 31 PageID 1953



           The Weissman court further explained that “[c]onsumers proceeding on a desired-products

theory must still allege a concrete invasion of a cognizable interest,” and that, again like Plaintiffs

here, the Weissman plaintiffs “failed to do so” because they did not demonstrate how any harm

from the mere existence of this ancillary term of service (i.e., an arbitration provision) is “‘actual

or imminent,’ not ‘conjectural’ or ‘hypothetical.’” Id. at 859 (citation omitted).

           In short, Plaintiffs’ “approach would contrive standing simply by redefining any sweeping

‘gripe’ as the inability to obtain a product that negates that ‘gripe,’ which would contravene a

central purpose of Article III standing doctrine to channel ‘generalized dissatisfaction with
government policy’ into the political process, not the courts.” Id. at 860 (quoting Coal. for

Mercury-Free Drugs, 671 F.3d at 1278). Plaintiffs’ requested “unbounded expansion of the

desired-products theory, then, would circumvent much of modern standing doctrine, allowing

abstract and speculative interests to find a footing for standing merely by reframing their injury as

a lost opportunity to purchase a product.” Id. at 861.

           Plaintiffs do not even acknowledge Weissman or respond in their brief to the limitations on

the “purchaser standing” doctrine it establishes, despite Defendants raising the case in prior

briefing and at the hearing on the parties’ cross motions for summary judgment. See Defs.’ Reply

in Supp. of Cross-Mot. for Summ. J. (“Defs.’ Reply”) at 3-5, ECF No. 83; July 26, 2022 Hrg. Tr.

31:4-32:4. Plaintiffs may desire health insurance that excludes coverage of a small number of

ancillary services, but that is not sufficient to establish standing when there is no dispute that health

insurance covering the services Plaintiffs do want is available to them. Having failed to

demonstrate a concrete injury here, Plaintiffs do not have standing to bring their claims.3

     II.      THE COURT SHOULD ENTER JUDGMENT FOR DEFENDANTS ON
              PLAINTIFFS’ CONTRACEPTIVE COVERAGE CLAIMS
           Defendants agree with Plaintiffs that, pursuant to the Court’s Memorandum Opinion and


3
  To the extent not restated herein, Defendants reassert and incorporate by reference their
arguments related to standing in their prior summary judgment briefing. See Defs.’ Br. at 9-26;
Defs.’ Reply at 2-10.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 7
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22               Page 14 of 31 PageID 1954



Order of September 7, 2022 (ECF No. 92), the Court should enter judgment for Defendants on

Plaintiffs’ contraceptive coverage claims. In that order, the Court ruled that Plaintiff Braidwood

had standing to bring its Appointments Clause and nondelegation claims challenging 42 U.S.C.

§ 300gg-13(a)(4) but rejected both claims on the merits. To the extent the Court finds that any

other plaintiff has standing, Defendants respectfully submit that the Court’s prior opinion compels

a ruling for Defendants on the merits of these claims. However, for the reasons set forth in Part I,

above, Defendants respectfully submit that the remaining Plaintiffs lack standing to assert their

contraceptive coverage claims (in addition to their other claims), and that those claims should be

dismissed for that reason. See supra Part I.

III.    THE COURT SHOULD PROVIDE BRAIDWOOD TARGETED RELIEF
        TAILORED TO ITS CLAIMS

           A. Supreme Court Precedent Requires This Court To Sever the Provision that
              Makes § 300gg-13(a)(1) Unconstitutional, Authorizing the Secretary to Review
              PSTF’s Recommendations in the Future
        As Defendants explained in their prior briefing, see Defs.’ Br. at 46-48 & Defs.’ Reply at

26-28, the proper cure for any Appointments Clause violation resulting from 42 U.S.C. § 300gg-

13(a)(1) is not to invalidate any coverage requirements under that section.4 Rather, the Court
should disregard the portion of the Preventive Services Task Force’s (“PSTF”) enabling statute

that limits the Secretary’s authority over the PSTF’s recommendations with respect to the

Preventive Services Provision. See 42 U.S.C. § 299b-4(a)(6) (“All members of the [PSTF], and

any recommendations made by such members, shall be independent and, to the extent practicable,

not subject to political pressure.”). Disregarding this provision cures in full any Appointments

Clause violation from the Preventive Services Provision by allowing the Secretary to review the

PSTF’s recommendations, just as the Secretary can review guidelines of ACIP and HRSA under

the other portions of the Preventive Services Provision, which the Court concluded do not violate

4
  Although Defendants recognize the Court’s ruling on the parties’ motions for summary judgment
and submit that the remedies proposed herein are appropriate in light of that ruling, Defendants
respectfully maintain that there is no Appointments Clause or RFRA violation and that no remedy
is necessary.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 8
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                    Page 15 of 31 PageID 1955



the Appointments Clause. See Sept. 7, 2022 Mem. Op & Order at 42, ECF No. 92.

          The Supreme Court made clear that this is the appropriate remedy in its recent decision in

United States v. Arthrex, Inc., 141 S. Ct. 1970 (2021). There, the Court held that because

Administrative Patent Judges on the Patent Trial and Appeal Board (“PTAB”) had “unreviewable

authority . . . during inter partes review,” their appointment to inferior office was unconstitutional.

Id. at 1985. In resolving the case, however, the Court declined “to hold the entire regime of inter

partes review unconstitutional.” Id. at 1986. Instead, the Court explained,

          “[W]hen confronting a constitutional flaw in a statute, we try to limit the solution
          to the problem” by disregarding the “problematic portions while leaving the
          remainder intact.” This approach derives from the Judiciary's “negative power to
          disregard an unconstitutional enactment” in resolving a legal dispute. In a case that
          presents a conflict between the Constitution and a statute, we give “full effect” to
          the Constitution and to whatever portions of the statute are “not repugnant” to the
          Constitution, effectively severing the unconstitutional portion of the statute.
Id. (citations omitted).

          Accordingly, the Court held that in keeping with the PTO Director’s statutory authority,

which vests the Director with “‘the powers and duties’ of the PTO,” it would remedy the

Appointments Clause defect by invalidating the statute that prohibited the Director from reviewing

the PTAB’s decisions. Id. (citation omitted). That remedy would permit the inter partes review

scheme to continue as before but would place the ultimate review in a constitutionally appointed

principal officer of the United States. Id.; see id. at 1987-88. The Court then remanded the case to

the Acting Director of the PTO for review of the PTAB’s decision. In other words, the Court held

that the remedy for a statutory scheme giving unreviewable authority of sufficient importance to

an officer that was not appointed by the President and confirmed by the Senate is to require that a

principal officer have the opportunity to review the actions previously performed by personnel

who were not appointed pursuant to constitutional requirements, leaving the rest of the statute

intact.

          Arthrex mandates the same approach here. The Court ruled the Secretary’s inability to

review the recommendations of the PSTF violated the Appointments Clause, which the Court

determined left the PSTF with authority to make a final decision on what preventive services must

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 9
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 16 of 31 PageID 1956



be covered pursuant to 42 U.S.C. § 300gg-13(a)(1). Just as in Arthrex, disregarding the statutory

restriction on a principal officer’s review (i.e., 42 U.S.C. § 299b-4(a)(6)) cures the Appointments

Clause violation, while doing the least violence possible to the constitutional portions of Congress’

carefully constructed statutory scheme.

       In their merits briefing, Plaintiffs contended that the Preventive Services Provision is

analogous to the inter partes regime at issue in Arthrex, vesting unreviewable discretion in

improperly appointed officers. See, e.g., Br. in Supp. of Pls. Mot. for Summ. J at 12; id. at 14 (“It

is hard to conceive of ‘authority’ more ‘significant’ than the power to unilaterally dictate the scope

of preventive care that private insurers must cover, without any cost-sharing arrangements such as

deductible or copays.”). It follows that Arthrex’s remedy applies—the Secretary as a Senate-

confirmed officer must have authority to review and approve PSTF recommendations for the

Preventive Services Provision coverage requirements to continue in effect. Thus, the Court should

hold 42 U.S.C. § 299b-4(a)(6) unenforceable to the extent it precludes the Secretary’s review and

approval of PSTF’s recommendations for purposes of the Preventive Services Provision’s

coverage requirements, but no further tinkering with the statute or invalidation of agency action

need or should be done. See also Seila Law, LLC v. Consumer Fin. Prot. Bureau 140 S. Ct. 2183,

2209 (2020) (“[W]hen confronting a constitutional flaw in a statute, we try to limit the solution to

the problem, severing any problematic portions while leaving the remainder intact.”) (citation

omitted); id. at 2210-11 (“We think it clear that Congress would prefer that we use a scalpel rather

than a bulldozer in curing the constitutional defect we identify today.”).

           B. Plaintiffs Are Not Entitled to a “Universal Remedy”

       Instead of the straightforward remedy mandated by the Supreme Court in Arthrex,

Plaintiffs propose a sweeping invalidation of numerous regulations and recommendations that

would create extraordinary upheaval in the United States’ public health system. Beyond the reason

explained above—that Arthrex requires a particular, and narrow, remedy other than the broad one

Plaintiffs request, see Part III.A, supra—Plaintiffs’ proposal fails for numerous reasons. First,

Plaintiffs did not bring an APA claim and thus are not entitled to an APA remedy. Second,

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 10
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 17 of 31 PageID 1957



Plaintiffs brought and prevailed on a “constitutional challenge to section 300gg-13(a)([1])

alleg[ing] that Congress violated the Constitution by enacting this statute.” Br. in Opp’n to Defs.’

Mot. to Dismiss at 13-14, ECF No. 24 (citation omitted). By Plaintiffs’ own admission, a

constitutional challenge to Legislative action is “not . . . eligible for . . . any type of universal

remedy.” Pls. Suppl. Br. at 10. Third, the Court cannot invalidate PSTF recommendations issued

pursuant to a statute that Plaintiffs have not challenged and the validity of which the Court has not

considered here. Fourth, even if Plaintiffs had brought and succeeded on an APA claim addressing

the validity of the PSTF’s recommendations themselves (which they have not), the APA does not

authorize “universal relief” of the type sought by Plaintiffs. Finally, even if authorized (which it is

not), the “universal remedy” sought by Plaintiffs would be inappropriate here.

               1.        Plaintiffs Did Not Bring an APA Claim and Thus Are Not Entitled to
                         an APA Remedy
       In their supplemental brief, Plaintiffs contend that they are entitled to a “universal remedy”

vacating “all [PSTF] recommendations with ‘A’ or ‘B’ ratings that were issued on or after March

23, 2010” and “all other agency action taken to implement those . . . recommendations.” Pls.’

Suppl. Br. at 9. Plaintiffs assert that the APA provides “a veto-like power that enables the judiciary

to formally revoke an agency’s rules, orders, findings, or conclusions.” Id. at 7. Even if Plaintiffs’

view of available APA remedies were correct (and it is not, see Part III.B.4, infra), any such

remedies are not permitted here for the simple reason that Plaintiffs neither brought, nor prevailed

on, an APA claim. The specific remedies set forth in the APA thus do not apply in this case. See,

e.g., Salazar v. Buono, 559 U.S. 700, 718 (2010) (“A court must find prospective relief that fits

the remedy to the wrong or injury that has been established.”).

       Plaintiffs cite no case awarding an APA remedy where the plaintiff did not bring an APA

claim. In the two cases they do cite, the plaintiff brought claims under the APA challenging agency

action. See Data Mktg. P’ship LP v. U.S. Dep’t of Labor, 45 F.4th 846, 851 (5th Cir. 2022)

(explaining “three questions presented” are whether challenged DOL action “is reviewable ‘final

agency action’ under the [APA] . . . whether [that] action is “arbitrary, capricious, or otherwise


Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 11
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 18 of 31 PageID 1958



contrary to law,” and whether vacatur is “the appropriate relief”); Franciscan All., Inc. v. Becerra,

47 F.4th 368, 374 (5th Cir. 2022) (“The 2020 Rule gave Franciscan Alliance the remedy an APA

violation called for—vacatur of the 2016 Rule’s prohibition of discrimination on the basis of

‘termination of pregnancy’ and ‘gender identity.’ Franciscan Alliance’s APA claim sought nothing

more.”). In contrast, not only did Plaintiffs here not bring an APA claim, they also expressly

disclaimed that they were challenging agency action. See infra Part III.B.2; Br. in Opp’n to Defs.’

MTD at 13-14 (“The constitutional challenge to section 300gg-13(a)(4) alleges that Congress

violated the Constitution by enacting this statute. It challenges the legislature’s action in enacting

a law . . . . There is no concern with how [HHS] decides to use its powers under the statute; that is

irrelevant to the Appointments Clause . . . challenge[] alleged in the first amended complaint.”)

(citation omitted).

       Plaintiffs appear to argue in a footnote that they need not have mentioned the APA remedy

explicitly in their Complaint’s prayer for relief as long as they prevail on a claim that entitles them

to that relief. See Pls.’ Supp Br. at 9 n.6 (“Courts must award the relief to which a party is entitled

regardless of whether it asked for that relief in its pleadings.”). But that principle does not help

Plaintiffs when their operative complaint does not invoke the APA or even mention the APA at

all. To be sure, there may be cases where plaintiffs prevail on a claim that they have asserted in

their complaint and obtain relief authorized for that claim that is not explicitly requested in their

prayer for relief, particularly when their prayer for relief includes a catchall provision. See e.g.,

Sapp v. Renfroe, 511 F.2d 172, 176 n.3 (5th Cir. 1975); Driggers v. Business Men’s Assurance Co.

of Am., 219 F.2d 292, 299 (5th Cir. 1955). But that principle does not permit Plaintiffs to obtain

relief for claims they never pleaded nor proved. Thus, a plaintiff cannot assert a breach of contract

claim and then, after prevailing, obtain tort remedies like punitive damages without ever pleading

or proving a tort claim. See, e.g., Cummings v. Premier Rehab Keller, P.L.L.C., 142 S. Ct. 1562,

1571 (2002) (“It is hornbook law that . . . punitive damages . . . are generally not available for

breach of contract[.]”). Plaintiffs’ contrary rule would violate basic principles of both notice

pleading and due process.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 12
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                    Page 19 of 31 PageID 1959



        Rule 54(c) does not help Plaintiffs, either. To be sure, as Plaintiffs note, Rule 54(c) provides

that a “final judgment should grant the relief to which each party is entitled, even if the party has

not demanded that relief in its pleadings.” Fed. R. Civ. P. 54(c). But Rule 54 in no way suggests

that a party “is entitled” to relief available for claims the party never brought, never supported with

evidence, and never prevailed upon. See, e.g., Driggers, 219 F.2d at 299 (“[T]he final judgment

should grant the relief to which plaintiff may prove himself entitled, even if he has not demanded

such relief in his pleadings.”) (emphasis added). Nor does Plaintiffs’ citation to Citizens United v.

FEC, 558 U.S. 310 (2010) have any bearing on the question here. The issue discussed there was

whether, given that “[a]ll concede that [a First Amendment] claim [wa]s properly before” the

Supreme Court and had been asserted “throughout the litigation,” 558 U.S. at 330, the Court could

address whether the statute was facially invalid under the First Amendment and, if so, provide an

appropriate remedy, rather than simply addressing whether the statute was invalid as applied. See

id. at 331 (“The parties cannot enter a stipulation that prevents the Court from considering certain

remedies if those remedies are necessary to resolve a claim that has been preserved.”) (emphasis

added). Here, no APA claim is properly before the Court and no APA claim has been preserved,

nor has the Court awarded judgment on any such claim, so no APA-specific remedies are available

to Plaintiffs.

        This rule has all the more force in the present case, because Plaintiffs initially brought an

APA claim but abandoned it in response to Defendants’ initial motion to dismiss. Compare Compl.

¶¶ 98-102, ECF No. 1 with FAC ¶¶ 66-111 (asserting claims under the Appointments Clause,

nondelegation doctrine, Vesting Clause, 42 U.SC. § 300gg-13 itself, and RFRA, but not the APA);

see Defs.’ Mot. to Dismiss at 21-27, ECF No. 12 (“The Challenged Coverage Requirements Do

Not Violate the APA’s Notice and Comment Requirements”). By their actions, Plaintiffs withdrew

the APA as an issue for the case rather than have their APA claim tested for legal sufficiency. They

cannot now seek remedies specific to the withdrawn claim at the close of district court litigation.

Whatever remedies the APA may provide for plaintiffs who plead, prove, and prevail on APA

claims, it does not afford any remedy to Plaintiffs here, who did none of those things.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 13
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 20 of 31 PageID 1960



                2.      By Their Own Admission, Plaintiffs Are Not “Eligible” for “Any Type
                        of Universal Remedy” in This “Constitutional Challenge” to the
                        “Legislature’s Action”
        Plaintiffs, by their own admission, are not entitled to the putative APA remedy they seek

in this case. They concede that “Braidwood would not be eligible for a nationwide injunction (or

any type of universal remedy) if it were merely challenging the constitutionality of a statute or

ordinance” and would only be entitled to the “universal remedy” Plaintiffs seek if it “challenge[d]

unlawful agency action.” Pls.’ Suppl. Br. at 10 (emphasis added). But Plaintiffs have forcefully

argued that their constitutional claims challenge only the constitutionality of a statute, and not

allegedly unlawful agency actions. As they explained in their opposition to Defendant’s motion to

dismiss:

                The constitutional challenge to section 300gg-13(a)(4) alleges that
                Congress violated the Constitution by enacting this statute. It challenges the
                legislature’s action in enacting a law that confers authority on individuals
                who are not appointed in conformity with Article II . . . . The “nucleus” of
                relevant facts concerns the text of this statute and the meaning of the
                Constitution—nothing more. The alleged constitutional violation occurred
                at the moment of the statute’s enactment, and the “nucleus” of relevant facts
                is centered around that event and nothing else. There is no concern with
                how HRSA decides to use its powers under the statute; that is irrelevant to
                the Appointments Clause and nondelegation challenges alleged in the first
                amended complaint. See First Amended Complaint (ECF No. 14) at ¶¶ 66–
                89.
Br. in Opp’n to Defs.’ MTD at 13-14 (emphasis in original; footnotes omitted). Plaintiffs

contrasted their Appointments Clause claim in this case with prior, related litigation. That prior

litigation, in their words:

                Challeng[ed] only the behavior of executive branch officials . . . . The
                relevant facts concerned . . . the conduct of the executive branch, which
                ha[s] nothing to do with any of facts surrounding the plaintiffs’
                constitutional challenges to section 300gg- 13(a)(4). There is no overlap at
                all with these factual nuclei . . . .
Id. at 14 (emphasis in original); see id. at 10 (“[T]he plaintiffs in this case are challenging the

constitutionality of the underlying statutes that authorize HRSA (and other entities) to impose

preventive-care coverage mandates on private insurers. This is not the ‘same claim’ or the ‘same


Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 14
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22               Page 21 of 31 PageID 1961



cause of action’ that was asserted in DeOtte, which concerned only the failure of the Contraceptive

Mandate to provide sufficient exemptions for religious objectors.”); id. at 11 (“Hellerstedt also

makes clear that a challenge to the constitutionality of 42 U.S.C. § 300gg-13(a)(4) is not ‘the very

same claim’ as the RFRA challenges in DeOtte because section 300gg-13(a)(4) is a ‘separate,

distinct provision’ from the agency rules that were challenged in the DeOtte litigation.”) (citation

omitted); id. at 12 (“section 300gg-13(a)(4) and the agency rules challenged in DeOtte are far more

“separate” and “distinct” from each other than the abortion-related statutory provisions in

Hellerstedt. Section 300gg-13(a)(4) is a statutory provision enacted in 2010 as part of the

Affordable Care Act. The Contraceptive Mandate is a series of agency rules that post-date the

enactment of section 300gg-13(a)(4)”).

        Because, as Plaintiffs concede, the Appointments Clause claim on which Braidwood

prevailed challenges the legislature’s action, not any action of the PSTF or other agency officials,

Br. in Opp’n to Defs.’ MTD at 13, Plaintiffs are, by their own admission, “not . . . eligible for a

nationwide injunction (or any type of universal remedy).”5 Pls.’ Suppl. Br. at 10.

               3.      Plaintiffs Have Not Challenged the PSTF’s Authority to Issue
                       Recommendations Under 42 U.S.C. § 299b(a)(1) and Are Not Entitled
                       to Invalidation of Those Recommendations
        Even if Plaintiffs had not conceded both (a) that their Appointments Clause claim

challenges the constitutionality of a statute and not the actions of administrative agencies and (b)

that such a scenario precludes them from obtaining the “universal relief” they now seek, Plaintiffs

would still not be entitled to the particular universal relief that they seek here. That is because

while Plaintiffs ask the Court to invalidate certain “A” and “B” recommendations of the PSTF,


5
  To be sure, in contrast to its constitutional claim, Braidwood’s RFRA claim does relate to the
actions of the PSTF. But that claim cannot be a basis for a “universal remedy” even with respect
to PrEP (the only coverage requirement challenged under RFRA). The RFRA claim does not
challenge the validity of the PrEP requirement itself, but only the application of that requirement
to Braidwood in light of Braidwood’s specific religious objections. Plaintiffs do not appear to
dispute this: They make no argument that Braidwood’s PrEP claim entitles it to “universal” relief
with respect to PrEP or any other requirement. Accordingly, there appears to be no dispute that
any relief awarded for Braidwood’s RFRA claim must apply only to Braidwood.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 15
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 22 of 31 PageID 1962



Plaintiffs have never argued, let alone demonstrated, that those recommendations were improperly

issued.

          As noted above, Plaintiffs have made clear that they claim “Congress violated the

Constitution by enacting [the Preventive Services Provision]” and “challenge the legislature’s

action in enacting a law that confers authority on individuals who are not appointed in conformity

with Article II.” Br. in Opp’n to Defs.’ MTD at 13. But the Preventive Services Provision is not

the statute that authorizes the PSTF to make recommendations, and a successful challenge to the

Preventive Services Provision does not undermine the PSTF’s authority to make
recommendations. All the Preventive Services Provision does is establish that “[a] group health

plan and a health insurance issuer offering group or individual health insurance coverage shall . .

. provide coverage for and shall not impose any cost sharing requirements for” certain

recommendations of the PSTF. 42 U.S.C. § 300gg-13(a)(1). A successful claim that this statute is

unconstitutional, then, may warrant excusing Plaintiffs from complying with the coverage

requirements the statute imposes on any Plaintiffs with standing to challenge those requirements

(in this case, only Braidwood, see Part I, supra), but it does not provide any basis to invalidate the

PSTF’s recommendations themselves.

          By contrast, the PSTF is authorized to issue recommendations pursuant to a different

statute, 42 U.S.C. § 299b-4(a)(1). That statute provides that the PSTF “shall . . . develop[]

recommendations for the health care community, and update[e] previous clinical preventive

recommendations, to be published in the Guide to Clinical Preventive Services.” Id. In making

these recommendations, the PSTF must “consider clinical preventive best practice

recommendations from the Agency for Healthcare Research and Quality, the National Institutes

of Health, the Centers for Disease Control and Prevention, the Institute of Medicine, specialty

medical associations, patient groups, and scientific societies.” Id. Plaintiffs do not claim that the

PSTF acted contrary to this statute in issuing its recommendations or that the statute is unlawful.

          Further, the PSTF’s recommendations are made and used for other purposes besides the

Preventive Services Provision’s coverage requirements. For example, the Medicare statute makes

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 16
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                    Page 23 of 31 PageID 1963



use of the PSTF’s recommendations in a variety of ways, including establishing a menu of services

for which the Secretary can in his or her discretion authorize coverage. See 42 U.S.C.

§ 1395m(n)(2) (“if the Secretary determines appropriate, the Secretary may . . . provide that no

payment shall be made under this subchapter for a preventive service described in [a section of the

Medicare statute] that has not received a grade of A, B, C, or I by such Task Force.”); 42 U.S.C.

§ 1395x(ddd) (providing the Secretary discretion to expand the scope of “additional preventive

services” under Medicare Part B to include services that are recommended by the USPSTF with a

grade of A or B). In addition, the PSTF’s recommendations are used by non-government medical
professionals for clinical purposes in deciding how best to provide care to their patients. See 42

U.S.C. § 299b-4(a)(1) (The PSTF is charged with the “purpose of developing recommendations

for the health care community, . . . to be published in the Guide to Clinical Preventive Services . . .,

for individuals and organizations delivering clinical services, including primary care professionals,

health care systems, professional societies, employers, community organizations, non-profit

organizations, Congress and other policy-makers, governmental public health agencies, health care

quality organizations, and organizations developing national health objectives.”). Vacating the

PSTF’s “A” and “B” ratings issued after March 23, 2010, as Plaintiffs request, would disrupt these

other purposes and programs that have not been the subject of this litigation even though the Court

has not considered these programs or provisions or determined any of them to run afoul of the

Appointments Clause.

        In sum, Plaintiffs have never claimed that the PSTF is not authorized to issue

recommendations pursuant to Section 299b-4(a)(1), nor have they claimed that any particular

PSTF recommendation was improperly issued. The Court, moreover, has never addressed the

merits of any such claim. Accordingly, there is no basis to invalidate any recommendation issued

by the PSTF or any “agency action taken to implement those Task Force recommendations.” Pls.’

Supp. Br. at 9.




Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 17
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 24 of 31 PageID 1964



               4.      Section 706(2) of the APA Does Not Authorize Vacatur As a Remedy

       As demonstrated above, Plaintiffs are not entitled to a “universal remedy” such as vacatur

under Section 706(2) of the APA in this case, regardless of whether Section 706(2) authorizes such

remedies in some cases. Although Defendants recognize that the Fifth Circuit has previously

accepted the argument that 5 U.S.C. § 706(2) authorizes vacatur of an agency action, see Data

Mktg. P’ship, LP, 45 F.4th at 859-60, Defendants respectfully contend that it does not. Section

706(2) is merely a rule of decision directing the reviewing court to disregard unlawful agency

action in resolving the case before it; the provision does not dictate any particular remedy. See

Samuel L. Bray, Multiple Chancellors: Reforming the National Injunction, 131 Harv. L. Rev 417,

451-52 (2017); see id. at 438 n. 121. Instead, APA remedies are governed by a different provision,

Section 703, which provides that some APA cases are governed by a “special statutory . . .

proceeding,” where vacatur may be available, or, in the absence of such statute, governed by a

traditional “form of legal action,” such as “actions for declaratory judgments or writs of prohibitory

or mandatory injunction.” 5 U.S.C. § 703; see John Harrison, Section 706 of the Administrative

Procedure Act Does Not Call for Universal Injunctions or Other Universal Remedies, 37 Yale J,

on Reg. Bull 37, 37, 39-40 (2020); see also Arizona v. Biden, 40 F.4th 375, 396 (6th Cir. 2022)

(Sutton, C.J., concurring) (Section 706(2)’s language that “a reviewing court may ‘hold unlawful

and set aside’ agency actions that violate the law . . . raises a question; it does not answer it. The

question is whether Congress meant to upset the bedrock practice of case-by-case judgments with

respect to the parties in each case or create a new and far-reaching power through this

unremarkable language.”).

               5.      The “Universal Remedy” Requested by Plaintiffs Would Be
                       Inappropriate Here Even if It Were Permissible
       While Plaintiffs argue that they are entitled to a nationwide injunction, they predicate that

contention exclusively on their purported entitlement to APA remedies. Pls.’ Suppl. Br. at 9-10.

Accordingly, there is no dispute that if Plaintiffs are not entitled to any APA remedy, they are not

entitled to a nationwide injunction. Because Defendants have demonstrated that Plaintiffs are not


Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 18
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                    Page 25 of 31 PageID 1965



entitled to APA remedies, Plaintiffs have no basis for obtaining a nationwide injunction. See supra

Parts III.B.1-3.

        Nor is a nationwide injunction appropriate here. The Fifth Circuit has made clear that

universal remedies like nationwide injunctions are not “required or even the norm.” Louisiana v.

Becerra, 20 F.4th 260, 263 (5th Cir. 2021). Instead, they “must be justified based on the

circumstances.” Id. (quotation marks omitted). Thus, “‘[i]njunctive relief should be limited in

scope to the extent necessary to protect the interests of the parties,” and “[i]t is well-settled that a

district court abuses its discretion when it drafts an injunction that is unnecessarily broad in scope.”

Alley v. U.S. Dep't of Health & Hum. Servs., 590 F.3d 1195, 1205 (11th Cir. 2009) (quoting Keener

v. Convergys Corp., 342 F.3d 1264, 1269 (11th Cir. 2003). Indeed, “a district court should think

twice—and perhaps twice again—before granting universal anti-enforcement injunctions against

the federal government.” Arizona, 40 F.4th at 396 (Sutton, C.J., concurring). This is because

“universal remedies . . . seem to take the judicial power beyond its traditionally understood uses,

permitting district courts to order the government to . . . refrain from acting toward nonparties in

the case” even though “[t]he law already has a mechanism for applying a judgment to third

parties,” the class action. Id. Such remedies “create practical problems too,” by “incentive[izing]

forum shopping,” and “short-circuit[ing] the decisionmaking benefits of having different courts

weigh in on vexing questions of law,” “lead[ing] to rushes to judgment” and “load[ing] more and

more carriage on the emergency dockets of the federal courts.” Id.; see also Trump v. Hawaii, 138

S. Ct. 2392, 2425-26, 2429 (2018) (Thomas, J., concurring) (noting the Justice’s “skept[icism] that

district courts have the authority to enter universal injunctions” because they “do not seem to

comply with th[e] principles” of equity and because “[n]o persuasive defense has yet been offered

for the practice” of issuing them); see generally id. at 2424-29; Dep’t of Homeland Sec. v. New

York, 140 S. Ct. 599, 599-601 (2020) (Gorsuch, J., concurring) (same). Plaintiffs have not made

any showing that the extraordinary circumstances that might authorize such an extreme remedy

exist in this case.

        However, there are numerous reasons why a nationwide injunction or any other “universal

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 19
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22                Page 26 of 31 PageID 1966



remedy” is not appropriate here. First, Plaintiffs chose not to pursue a class action. Indeed, their

initial complaint purported to do just that, but Plaintiffs abandoned that path. Compare Compl.

¶¶ 126-147 with FAC. Plaintiffs should not be permitted to do an end-run around Rule 23’s

requirements simply because the United States is a defendant. Second, of the many Plaintiffs here,

only one has been able to establish cognizable harm from the challenged coverage requirements.

By contrast, the coverage requirements provide a benefit to millions of consumers of insurance.

They also provide predictability to those who participate in health insurance and self-insured group

plans, so that insurers and group plans know what they must cover and consumers know what

preventive services they can obtain cost free. In these circumstances, it is particularly appropriate

to permit the issue to percolate through the courts to a definitive ruling from a court of last resort,

rather than thrusting the entire health insurance system into uncertainty because a single plaintiff

(or even a handful of plaintiffs) prevailed on an individual, non-class claim. Cf. Louisiana, 20

F.4th at 264 (“This vaccine rule is an issue of great significance currently being litigated

throughout the country. Its ultimate resolution will benefit from ‘the airing of competing views’ in

our sister circuits.” (citation omitted)). In the meantime, targeted relief can ensure that the one

Plaintiff who has demonstrated standing and entitlement to relief will be excused from compliance

with the challenged requirements.6

           C. The Court Should Award Braidwood Targeted Relief Tailored to the Claims
              on Which It Prevailed
        Because Plaintiffs are not entitled to either vacatur or any other “universal” remedy, the

remedy must be limited to a declaration and injunction in favor of Braidwood, the only Plaintiff to

6
  Defendants agree with Plaintiffs that any declaratory relief must likewise be limited to a
declaration of the specific rights and legal relations of the Plaintiffs who have individually
demonstrated they have standing to sue and Defendants. See Pls.’ Supp. Br. at 4-7. This limitation
provides further reason that the Court should limit any injunctive relief to the same parties: It
makes no sense to declare the rights of the parties only to issue an injunction that prevents
enforcement against anyone in the United States. Cf. Arizona v. Biden, 31 F.4th 469, 483 (6th Cir.
2022) (Sutton, C.J., concurring) (“A valid Article III remedy operates with respect to specific
parties, not with respect to law in the abstract” which is “why courts generally grant relief in a
party-specific and injury-focused manner.”) (quotations and citations omitted).

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 20
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                   Page 27 of 31 PageID 1967



have established standing. Further, the substance of that declaration and injunction must be specific

to the claims that Braidwood prevailed upon. See, e.g., Gill v. Whitford, 138 S. Ct. 1916, 1933-34

(2018) (explaining that “[a] plaintiff’s remedy must be tailored to redress the plaintiff’s particular

injury”); see also Daniels Health Scis., L.L.C. v. Vascular Health Scis., L.L.C., 710 F.3d 579, 586

(5th Cir. 2013) (Courts “must narrowly tailor an injunction to remedy the specific action which

gives rise to the order.”) (citation omitted). There are two such claims. First, the Court ruled that

42 U.S.C. § 300gg-13(a)(1) violates the Appointments Clause. See Sept. 7, 2022 Mem Op. & Order

at 41. Second, the Court ruled that the PrEP coverage requirement, pursuant to the same statute,
“violates Braidwood’s rights under RFRA.” Id. at 42.

       Arthrex mandates that the appropriate response to the former violation is to “give full effect

to the Constitution and to whatever portions of the statute are not repugnant to the Constitution,

effectively severing the unconstitutional portion of the statute.” 141 S. Ct. at 1986. Thus, the Court

should first issue an order declaring that the statutory provision that the Court determined renders

subsection (a)(1) of the Preventive Services Provision unconstitutional must be disregarded. 42

U.S.C. § 299b-4(a)(6), the provision that prevents the Secretary from “direct[ing] PSTF to give a

specific preventive service an ‘A’ or ‘B’ rating, such that it would be covered pursuant to 42 U.S.C.

§ 300gg-13(a)(1),” would accordingly no longer preclude the Secretary’s review of the PSTF’s

recommendations for purposes of the Preventive Services Provision’s coverage requirements.

Sept. 7, 2022 Mem. Op. & Order at 18 (quotation marks and citation omitted); see 42 U.S.C.

§ 299b-4(a)(6) (“All members of the Task Force convened under this subsection, and any

recommendations made by such members, shall be independent and, to the extent practicable, not

subject to political pressure.”). Once the Court orders Section 299b-4(a)(6) ineffective for purposes

of the Preventive Services Provision, the Secretary will have the authority to direct specific

coverage in the future and to ratify any past coverage requirements. This Secretarial oversight

would cure any harm caused by the Appointments Clause violation the Court found, namely that

coverage requirements are imposed by an officer who was not constitutionally appointed.



Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 21
    Case 4:20-cv-00283-O Document 99 Filed 11/23/22                Page 28 of 31 PageID 1968



          Second, having issued the order disregarding Section 299b-4(a)(6), the Court should, as a

remedy for Braidwood’s Appointments Clause claim, issue a declaration and injunction preventing

Defendants from enforcing against Braidwood any coverage requirement imposed by subsection

(a)(1) of the Preventive Services Provision pursuant to an “A” or “B” recommendation of the PSTF

issued on or after March 23, 2010, unless and until any past recommendations are ratified by the

Secretary or any future recommendations are issued under the Secretary’s direction and

supervision.7

          Third, with respect to Braidwood’s RFRA claim, the Court should issue a declaration and
injunction preventing Defendants from enforcing the PrEP coverage requirement against

Braidwood.
                                              CONCLUSION
          For the reasons set forth above, the Court should enter judgment for Defendants against all

Plaintiffs except Braidwood because they lack standing. With respect to Braidwood, the Court

should:

         First, order that 42 U.S.C. § 299b-4(a)(6) must be disregarded with respect to the

          Preventive Services Provision to the extent it precludes the Secretary’s review and

          approval of the PSTF’s recommendations for purposes of the Preventive Services

          Provision’s coverage requirements, effectively severing it to restore the constitutionality

          of 42 U.S.C. § 300gg-13(a)(1), allowing the Secretary to direct and supervise

          recommendations of the PSTF in the future;

         Second, as a remedy for the portion of Braidwood’s Appointments Clause claim on which

          it prevailed, issue

              O (a) a declaration that Braidwood need not comply with the coverage requirements

                  imposed by 42 U.S.C. § 300gg-13(a)(1) resulting from any “A” or “B”

7
  Defendants agree with Plaintiffs that 42 U.S.C. § 300gg-13(a)(1) does not violate the
Appointments Clause insofar as it imposes coverage requirements of “A” or “B” recommendations
of the PSTF issued prior to March 23, 2010 and that such requirements maintain their full force
and effect.

Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 22
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                  Page 29 of 31 PageID 1969



                recommendation of the PSTF issued on or after March 23, 2010, unless and until

                any past recommendations are ratified by the Secretary or any future

                recommendations are issued under the Secretary’s direction and supervision and

            O (b) an injunction preventing Defendants from enforcing the same coverage

                requirements against Braidwood unless and until any past PSTF recommendations

                are ratified by the Secretary or any future recommendations are issued under the

                Secretary’s direction and supervision; and

       Third, with respect to Braidwood’s RFRA claim, issue

            O (a) a declaration that Braidwood need not comply with the PrEP coverage

                requirement and

            O (b) an injunction preventing Defendants from enforcing the PreP coverage

                requirement against Braidwood.

        Respectfully submitted,

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Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 23
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                  Page 30 of 31 PageID 1970




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Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 24
 Case 4:20-cv-00283-O Document 99 Filed 11/23/22                  Page 31 of 31 PageID 1971



                                       Certificate of Service

       On November 23, 2022, I electronically submitted the foregoing document with the clerk

of court for the U.S. District Court, Northern District of Texas, using the electronic case filing

system of the court. I hereby certify that I have served all parties who have appeared in the case

electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


                                                      /s/ Christopher M. Lynch
                                                      Christopher M. Lynch




Defendants’ Response to Plaintiffs’ Supplemental in Motion for Summary Judgment and Supplemental
Cross-Motion for Summary Judgment – Page 25
